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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

IN RE BANC OF CALIFORNIA                      Case No. ______________
SECURITIES LITIGATION


                                              CASE NO. SACV 17-00118 AG (DFMx)
                                              consolidated with
                                              SACV 17-00138 AG (DFMx)
                                              Pending in the Central District of California




                        MEET-AND-CONFER STATEMENT

      The undersigned certifies that Defendant Steven Sugarman (“Sugarman”) has in

good faith conferred with non-parties Castalian Partners Value Fund LP and James

Gibson (collectively, “Respondents”) through telephonic conferences on August 28, 2018

and September 10, 2018, and written correspondence exchanged on August 7, 15, 28, 30,

31, 2018 and September 1, 2, 4 and 7, 2018 in an effort to obtain without court action the

discovery that is the subject of Sugarman’s Motion to Compel Compliance with

Subpoenas.

      As a result of the meet-and-confer process, the parties do not agree on the

resolution of any part of Sugarman’s Motion to Compel Compliance with Subpoenas.
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Dated: September 12, 2018           Respectfully submitted,

                                    FOX ROTHSCHILD

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